                                                                    Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 1 of 28



                                                          1   HUNTON ANDREWS KURTH LLP
                                                              Ann Marie Mortimer (State Bar No. 169077)
                                                          2
                                                              amortimer@HuntonAK.com
                                                          3   Jason J. Kim (State Bar No. 221476)
                                                          4   kimj@HuntonAK.com
                                                              Jeff R. R. Nelson (State Bar No. 301546)
                                                          5   jnelson@HuntonAK.com
                                                          6   550 South Hope Street, Suite 2000
                                                              Los Angeles, California 90071-2627
                                                          7   Telephone: (213) 532-2000
                                                          8   Facsimile: (213) 532-2020

                                                          9   Attorneys for Plaintiff
                                                         10   FACEBOOK, INC.

                                                         11
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12                             UNITED STATES DISTRICT COURT
                                                         13     NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
                                                         14
                                                         15
                                                              FACEBOOK, INC., a Delaware                 CASE NO.: 3:20-CV-04054
                                                         16   corporation,
                                                         17                                              COMPLAINT; DEMAND FOR JURY
                                                                           Plaintiff,                    TRIAL
                                                         18
                                                                    v.
                                                         19
                                                         20
                                                         21   MOHAMED ZAGHAR, d/b/a
                                                         22   Massroot8,
                                                         23                Defendant.
                                                         24
                                                         25
                                                         26
                                                         27
                                                         28

                                                                                        COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                       Case No. 3:20-cv-04054
                                                                   Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 2 of 28



                                                          1         Plaintiff Facebook, Inc. (“Facebook”) asserts the following:
                                                          2                                   INTRODUCTION
                                                          3         1.    Beginning no later than 2018 and continuing to the present, Defendant
                                                          4   operated an unlawful business using the website massroot8.com, which targeted
                                                          5   Facebook and its users. Defendant’s business was an online service designed to
                                                          6   improperly collect certain user data – namely, email address, mobile phone number,
                                                          7   gender, and date of birth. Defendant collected the data by using self-compromised
                                                          8   accounts and a computer program to control a network of computers or “bots,” which
                                                          9   pretended to be an Android device connected to the official Facebook mobile app.
                                                         10   Through this fraudulent mobile connection, Defendant’s service delivered automated
                                                         11   requests for user data to Facebook computers and transmitted the data to
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12   massroot8.com. This data harvesting technique is known as “mobile scraping.”
                                                         13         2.    Specifically, between April 23, 2020 to May 6, 2020, Defendant’s service
                                                         14   collected and used Facebook login credentials from approximately 5,500 users, in
                                                         15   order to access Facebook and scrape user data. This was not authorized by Facebook.
                                                         16   Facebook now seeks injunctive relief and damages to remedy and prevent Defendant’s
                                                         17   violations of Facebook’s Terms of Service, the Computer Fraud and Abuse Act, and
                                                         18   California Penal Code Section 502.
                                                         19                                        PARTIES
                                                         20         3.    Plaintiff Facebook, Inc., is a Delaware corporation with its principal place
                                                         21   of business in Menlo Park, San Mateo County, California.
                                                         22         4.    Defendant Mohamed Zaghar is a resident of Morocco, and since 2014,
                                                         23   and at all times relevant to this Complaint, he owned and operated several websites,
                                                         24   including fast-likers.com, fast-autolikers.com, and massroot8.com. Exs. 1 – 4.
                                                         25                            JURISDICTION AND VENUE
                                                         26         5.    The Court has federal question jurisdiction over the federal cause of
                                                         27   action alleged in this Complaint pursuant to 28 U.S.C. § 1331.
                                                         28

                                                                                    COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                   Case No. 3:20-cv-04054
                                                                    Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 3 of 28



                                                          1         6.     The Court has supplemental jurisdiction over the state law causes of
                                                          2   action alleged in the Complaint pursuant to 28 U.S.C. § 1367 because these claims
                                                          3   arise out of the same nucleus of operative facts as Facebook’s federal claim.
                                                          4         7.     In addition, the Court has jurisdiction under 28 U.S.C. § 1332 over all
                                                          5   causes of action alleged in this Complaint because complete diversity exists and the
                                                          6   amount in controversy exceeds $75,000.
                                                          7         8.     The Court has personal jurisdiction over Zaghar because he had multiple
                                                          8   Facebook accounts and thereby agreed to Facebook’s Terms of Service and agreed to
                                                          9   submit to the personal jurisdiction of this Court for litigating this matter.
                                                         10         9.     In addition, the Court has personal jurisdiction over Zaghar because he
                                                         11   knowingly directed and targeted his conduct at California and at Facebook, which has
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12   its principal place of business in California. Zaghar transacted business and engaged
                                                         13   in commerce in California by, among other things, using a California server to host
                                                         14   the website massroot8.com. Facebook’s claims arise directly from these California
                                                         15   contacts.
                                                         16         10.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) as the
                                                         17   threatened and actual harm to Facebook occurred in this District.
                                                         18         11.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                         19   Francisco or Oakland division because Facebook is located in San Mateo County.
                                                         20                               FACTUAL ALLEGATIONS
                                                         21         A.     Background on Facebook
                                                         22         12.    Facebook is a social networking website and mobile application that
                                                         23   enables its users to create their own personal profiles and connect with each other on
                                                         24   their personal computers and mobile devices. As of March 2020, Facebook daily
                                                         25   active users averaged 1.73 billion and monthly active users averaged 2.6 billion.
                                                         26
                                                         27
                                                         28
                                                                                                    2
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                    Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 4 of 28



                                                          1         13.    To access Facebook and view certain user profiles, Facebook requires
                                                          2   that each user create a Facebook account. To create a Facebook account, Facebook
                                                          3   requires each user to register with a unique username and password.
                                                          4         14.    Registered users can create user profiles and include information about
                                                          5   themselves, including their email address, phone numbers, and date of birth.
                                                          6   Registered Facebook users can make connections on Facebook by becoming “Friends”
                                                          7   with other Facebook users.
                                                          8         15.    Facebook provides its users with control over how to customize their
                                                          9   profiles and how much personal information to include in their profile. In addition,
                                                         10   Facebook’s privacy settings provide users with control over how much profile
                                                         11   information is viewable publicly, to other Facebook users, or to the users’ Friends.
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12         16.    Facebook uses a number of technical measures to secure its service.
                                                         13   These include measures designed to verify that users access the service through the
                                                         14   official Facebook mobile application (on Android or iPhone) and have proper access
                                                         15   to their account. For example, the official Facebook mobile application has a unique
                                                         16   application identification number and digitally signs requests sent to Facebook servers,
                                                         17   using a cryptographic key embedded in the application and a proprietary signature.
                                                         18         17.    When a Facebook user logs into Facebook through the official Facebook
                                                         19   mobile app, his or her device connects with restricted computers that provide the user
                                                         20   with access to their profile and posts, as well as their Friends’ profile and posts (subject
                                                         21   to the Friends’ privacy settings).
                                                         22         B.     Facebook’s Terms of Service
                                                         23         18.    All Facebook users must agree to Facebook’s Terms of Service
                                                         24   (“Terms”) (available at https://www.facebook.com/terms.php) and other rules that
                                                         25   govern access to, and use of, Facebook.
                                                         26
                                                         27
                                                         28
                                                                                                     3
                                                                                      COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                     Case No. 3:20-cv-04054
                                                                    Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 5 of 28



                                                          1         19.    Section 3.2.1 of Facebook’s Terms prohibits users from “do[ing] . . .
                                                          2   anything unlawful, misleading, [ ] or fraudulent” or facilitate or support others in doing
                                                          3   so.
                                                          4         20.    Section 3.2.2 of Facebook’s Terms prohibits users from “do[ing]
                                                          5   anything that could . . . impair the proper working or appearance of [Facebook]
                                                          6   Products.”
                                                          7         21.    Section 3.2.3 of Facebook’s Terms prohibits “access[ing] or collect[ing]
                                                          8   data from [Facebook] Products using automated means (without our permission) or
                                                          9   attempt[ing] to access data you don’t have permission to access.”
                                                         10         C.     Background on Scraping
                                                         11         22.    “Web scraping” refers to the process of extracting data from a website
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12   interface. This can be done manually (i.e. copy and paste by a person) or by using
                                                         13   automated means, such as specialized tools and software. Websites, including the
                                                         14   official Facebook site, are designed for human end-users and not for automated use,
                                                         15   and employ anti-scraping measures to prevent and detect web scraping.
                                                         16         23.    “Mobile scraping” refers to the process of extracting data from a mobile
                                                         17   application by using a fraudulent mobile connection. A mobile application is a kind of
                                                         18   software specifically designed to run on a mobile device and connect to protected
                                                         19   computers. Mobile scrapers use specialized software to collect data pretending to be
                                                         20   an Android or iPhone device to connect to protected computers. Through this
                                                         21   fraudulent mobile connection, mobile scrapers deliver automated requests for data.
                                                         22         24.    Automation tools and software are necessary for mobile scraping.
                                                         23   Facebook employs a number of measures to detect and disrupt unauthorized automated
                                                         24   requests on its systems, including monitoring use patterns that are inconsistent with a
                                                         25   human user, CAPTCHA, and disabling of accounts engaged in automated activity.
                                                         26
                                                         27
                                                         28
                                                                                                    4
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                      Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 6 of 28



                                                          1           25.   When web and mobile scrapers extract the desired data from a website or
                                                          2   mobile app, they often restructure and format it, and can save and store it for further
                                                          3   use, such as lead generation and pricing competition and optimization.
                                                          4           D.    Background on Defendant Zaghar
                                                          5           26.   At various times between May 2007 and February 2019, Zaghar created
                                                          6   and used approximately ten Facebook accounts and agreed to Facebook’s Terms.
                                                          7   Zaghar also created and controlled several Facebook apps and Pages.
                                                          8           27.   Zaghar created and used certain Facebook accounts before receiving a
                                                          9   cease and desist letter from Facebook. Facebook disabled his known accounts on or
                                                         10   about July 11, 2018, when it sent the cease and desist letter to Zaghar. Subsequently,
                                                         11   Zaghar created at least three Facebook accounts using the aliases “Ixo Ver,” and “Zag
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12   Har.”
                                                         13           28.   Between August 2014 and September 2016, Zaghar controlled and
                                                         14   operated the website fast-likers.com. Exs. 1 and 4. Between February 2016 and
                                                         15   October 2018, Zaghar used the domain fast-autolikers.com to host his website. Exs.
                                                         16   2 and 4.
                                                         17           29.   Between September 2014 and July 2018, Zaghar operated the fast-
                                                         18   likers.com and fast-autolikers.com websites. On those websites, which no longer
                                                         19   operate, Zaghar offered a scraping service with various functionalities, including the
                                                         20   ability to extract the mobile phone number and email address of a Facebook user.
                                                         21   Zaghar also offered fake engagement services, including the ability to artificially
                                                         22   increase the number of a users’ Facebook friends. Zaghar advertised the fast-liker.com
                                                         23   and fast-autolikers.com services on YouTube using the name “TheMrZaghar.” Ex. 5.
                                                         24           30.   Beginning no later than October 27, 2018, Zaghar began operating the
                                                         25   website massroot8.com and redirecting users of the fast-autolikers.com website to the
                                                         26   massroot8.com website. Ex. 4. As explained in more detail below, Zaghar offered
                                                         27   another scraping service on massroot8.com.
                                                         28
                                                                                                    5
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                    Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 7 of 28



                                                          1         E.     Facebook’s Prior Enforcement Against Zaghar
                                                          2         31.    On or about July 11, 2018, Facebook sent Zaghar a cease and desist letter
                                                          3   by FedEx and email. In the letter, Facebook demanded that Zaghar stop violating
                                                          4   Facebook’s Terms, revoked his access to Facebook, and notified Zaghar that his
                                                          5   conduct may violate the Computer Fraud and Abuse Act (18 U.S.C. § 1030), as well
                                                          6   as Section 502 of the California Penal Code. Facebook also deleted apps, pages, and
                                                          7   user accounts associated with Zaghar.
                                                          8         32.    On July 19, 2018, Zaghar sent an email to Facebook’s attorneys stating
                                                          9   that he “closed” the fast-autolikers.com website and deleted any Facebook user data
                                                         10   he collected as a result of operating that website. He also provided a list of Facebook
                                                         11   user account IDs that allegedly used his service.
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12         33.    By August 5, 2018, Zaghar posted on fast-autolikers.com that the site was
                                                         13   “closed,” and that he had been contacted “by Facebook lawyers that [sic] if the site is
                                                         14   not stopped, they will sue [ ] because the site violates Facebook’s privacy policy.”
                                                         15   Zaghar also wrote that Facebook learned that his website was “helping people to know
                                                         16   their friends ’information [sic] and this is causing them harm so Facebook has disabled
                                                         17   [a]ll the accounts of the owner of the site . . . and the owner of the site was permanently
                                                         18   banned from using Facebook . . . .” Ex. 6.
                                                         19         F.     Zaghar’s Scraping Service Violates Facebook’s Terms
                                                         20         34.    After Facebook revoked Zaghar’s access to Facebook and sent Zaghar
                                                         21   the cease and desist letter, he violated Facebook’s Terms by creating approximately
                                                         22   three new Facebook user accounts and accessing Facebook for the purpose of scraping
                                                         23   non-publicly viewable user data. Specifically, Zaghar used mobile scraping in order
                                                         24   to obtain data from Facebook protected computers.
                                                         25         35.    In or around October 27, 2018, Zaghar began using the website
                                                         26   massroot8.com to engage in new scraping activity targeting Facebook and its users.
                                                         27   Specifically, Zaghar’s fast-autolikers.com website began directing users to the website
                                                         28
                                                                                                    6
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                   Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 8 of 28



                                                          1   massroot8.com. Ex. 7. As a result, anyone who tried to visit the fast-autolikers.com
                                                          2   website would instead visit the massroot8.com website.
                                                          3         36.   On the massroot8.com website, Zaghar offered his customers the ability
                                                          4   to scrape their Facebook Friends’ contact information, such as email address, phone
                                                          5   number, gender, and date of birth. Zaghar did not charge users a fee to access and use
                                                          6   the massroot8.com website. Instead, Zaghar ran advertisements on his website to
                                                          7   generate revenue.
                                                          8         37.   To use Zaghar’s scraping service, massroot8.com customers first had to
                                                          9   create an account on massroot8.com.           Zaghar’s customers registered with
                                                         10   massroot8.com with an email address, first and last name, and a password. Zaghar’s
                                                         11   customers also needed a valid Facebook username and password in order to use the
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12   service. After registering with massroot8.com, Zaghar required his customers to link
                                                         13   their Facebook account to their massroot8.com account and share their Facebook login
                                                         14   credentials with the service. As a result, Zaghar’s customers self-compromised their
                                                         15   Facebook account by relinquishing control of their username and password.
                                                         16         38.   After Zaghar collected the user’s access information, his scraping
                                                         17   software enabled the automated and improper collection of data from Facebook. In
                                                         18   order to evade Facebook’s technical restrictions against web scraping, Zaghar’s
                                                         19   scraping software engaged in mobile scraping by emulating Facebook’s official
                                                         20   Facebook Android app to connect a bot with Facebook restricted endpoints, and send
                                                         21   automated requests to Facebook as if a human user was logging into the Facebook app.
                                                         22   Zaghar and his customers could not use the scraping software to access any Facebook
                                                         23   user data that they were not otherwise authorized to view by their Facebook Friends.
                                                         24         39.   Zaghar’s scraping software was programmed to request user data from
                                                         25   Facebook and transmit it to massroot8.com, where it was accessible to his customers
                                                         26   on a dashboard.
                                                         27
                                                         28
                                                                                                   7
                                                                                    COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                   Case No. 3:20-cv-04054
                                                                    Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 9 of 28



                                                          1         40.    Between April 23, 2020 and May 6, 2020, Zaghar’s service used
                                                          2   approximately 5,500 Facebook users’ credentials to obtain, through automated means,
                                                          3   their Facebook Friends’ email address, mobile phone number, and date of birth. In
                                                          4   large part, this data was not publicly viewable, rather, only registered Facebook users
                                                          5   who were logged into Facebook and were Facebook Friends with Zaghar’s customers
                                                          6   could view the data.
                                                          7         41.    Facebook has taken various technical enforcement measures against
                                                          8   Zaghar and his customers, including disabling Zaghar’s user accounts on Facebook
                                                          9   and Instagram and requiring his customers to create new passwords in order to secure
                                                         10   their Facebook accounts.
                                                         11         G.     Zaghar’s Acts Harmed Facebook
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12         42.    Zaghar’s scraping service and his violations of Facebook’s Terms have
                                                         13   caused Facebook to expend valuable resources to investigate and remediate his
                                                         14   conduct.
                                                         15         43.    Facebook has suffered damages attributable to the efforts and resources
                                                         16   it has used to address Zaghar’s conduct described in this Complaint in an amount to
                                                         17   be determined at trial, and in excess of $75,000.
                                                         18                              FIRST CAUSE OF ACTION
                                                         19                                    (Breach of Contract)
                                                         20         44.    Facebook realleges and incorporates all preceding paragraphs here.
                                                         21         45.    Between 2007 and 2019, Zaghar created multiple Facebook accounts and
                                                         22   agreed to Facebook’s Terms. Facebook’s Terms constitute an agreement between
                                                         23   Facebook users and Facebook.
                                                         24         46.    In addition, since at least 2015, Zaghar collected and used Facebook
                                                         25   users’ login credentials. These users’ accounts were also governed by Facebook’s
                                                         26   Terms and Policies. Because Zaghar’s unlawful business used the Facebook platform,
                                                         27
                                                         28
                                                                                                    8
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                   Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 10 of 28



                                                          1   including targeting Facebook user accounts that were governed by Facebook’s Terms,
                                                          2   Zaghar further agreed to be bound by Facebook’s Terms.
                                                          3         47.    Despite his agreement to Facebook’s Terms, Zaghar breached and
                                                          4   continues to breach Terms sections 3.2.1, 3.2.2, and 3.2.3 by (a) accessing and using
                                                          5   Facebook after Facebook revoked his access; (b) scraping data from Facebook using
                                                          6   automated means without Facebook’s permission; (c) sending code to Facebook that
                                                          7   masquerades as the Facebook mobile app, which is “unlawful, misleading, [ ] or
                                                          8   fraudulent;” and (d) facilitating others to scrape data from Facebook without
                                                          9   Facebook’s permission through the massroot8.com website.
                                                         10         48.    Facebook has performed all conditions, covenants, and promises required
                                                         11   of it in accordance with its agreements with Zaghar.
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12         49.    Zaghar’s breaches have caused Facebook to incur damages in an amount
                                                         13   to be determined at trial, and in excess of $75,000.
                                                         14                             SECOND CAUSE OF ACTION
                                                         15                    (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                         16         50.    Facebook realleges and incorporates all preceding paragraphs here.
                                                         17         51.    Since at least October 2018, Zaghar accessed Facebook protected
                                                         18   computers, namely, restricted endpoints, without authorization in order to scrape data
                                                         19   from Facebook.
                                                         20         52.    Facebook computers are “protected computers” as defined by 18 U.S.C.
                                                         21   § 1030(e)(2)(B) because they are “used in or affecting interstate commerce or
                                                         22   communication.”
                                                         23         53.    Zaghar violated 18 U.S.C. § 1030(a)(2) because he intentionally accessed
                                                         24   and caused to be accessed a Facebook protected computer without authorization and
                                                         25   obtained information.     More specifically, Zaghar’s scraping service emulated
                                                         26   Facebook’s official Facebook Android app and misused Facebook login credentials in
                                                         27   order to fraudulently login to Facebook and scrape data, including certain users’ email
                                                         28
                                                                                                    9
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                   Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 11 of 28



                                                          1   address, mobile phone number, and date of birth, that was not publicly viewable
                                                          2   beyond their group of Facebook Friends.
                                                          3         54.    Zaghar violated 18 U.S.C. § 1030(a)(4) because he knowingly and with
                                                          4   intent to defraud, accessed Facebook protected computers, by sending unauthorized
                                                          5   commands and requests, and by means of such conduct furthered the intended fraud
                                                          6   and obtained something of value.        Zaghar’s intended fraud included sending
                                                          7   unauthorized commands and requests to Facebook that falsely represented themselves
                                                          8   as Facebook’s official Android app for the purpose of scraping and obtaining access
                                                          9   to and data from Facebook, the value of which exceeded $5,000.
                                                         10         55.    Zaghar caused a loss to Facebook in an amount in excess of $5,000 during
                                                         11   a one-year period.
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12         56.    Zaghar’s actions caused plaintiff to incur a loss as defined by 18 U.S.C.
                                                         13   § 1030(e)(11), including the expenditure of resources to investigate and remediate
                                                         14   Zaghar’s fraud and unauthorized access. Plaintiff is entitled to compensation for
                                                         15   losses and any other amount to be proven at trial.
                                                         16                              THIRD CAUSE OF ACTION
                                                         17                               (California Penal Code § 502)
                                                         18         57.    Facebook realleges and incorporates all preceding paragraphs here.
                                                         19         58.    Zaghar knowingly accessed and without permission used Facebook’s
                                                         20   computers, computer system, or computer network in order to wrongfully obtain data
                                                         21   in violation of California Penal Code § 502(c)(1)(B).
                                                         22         59.    Zaghar knowingly and without permission used or caused to be used
                                                         23   Facebook’s computer services, as defined by § 502(b)(4), in violation of California
                                                         24   Penal Code § 502(c)(3).
                                                         25         60.    Zaghar knowingly and without permission accessed and caused to be
                                                         26   accessed Facebook’s computers, computer systems, or computer networks after
                                                         27   Facebook disabled his accounts in violation of California Penal Code § 502(c)(7).
                                                         28
                                                                                                   10
                                                                                    COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                   Case No. 3:20-cv-04054
                                                                       Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 12 of 28



                                                          1            61.   Facebook suffered and continues to suffer damages and a loss as a result
                                                          2   of Zaghar’s actions. Facebook, therefore, is entitled to compensatory damages, in an
                                                          3   amount to be proven at trial, as well as injunctive relief and attorney’s fees under
                                                          4   California Penal Code § 502(e)(1) and (2).
                                                          5            62.   Because Zaghar willfully violated California Penal Code § 502 and given
                                                          6   the clear and convincing evidence that Zaghar committed “fraud” as defined by 3294
                                                          7   of the California Civil Code, Plaintiff is entitled to punitive damages under California
                                                          8   Penal Code § 502(e)(4).
                                                          9                                   PRAYER FOR RELIEF
                                                         10            Facebook seeks judgment awarding the following relief:
                                                         11            (a)   An injunction restraining Zaghar from accessing Facebook;
                    Los Angeles, California 90071-2627
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12            (b)   An injunction requiring Zaghar to identify the location of any and all data
                                                         13   obtained from Facebook, delete any and all data obtained from Facebook, including
                                                         14   users’ Facebook credentials, and to identify any and all entities with whom Zaghar
                                                         15   shared data obtained from Facebook;
                                                         16            (c)   Compensatory and punitive damages in an amount to be determined at
                                                         17   trial;
                                                         18            (d)   Attorney’s fees, costs, and expenses, including but not limited to those
                                                         19   incurred in connection with the investigation and remediation of Zaghar’s misconduct;
                                                         20            (e)   Pre-judgment and post-judgment interest; and
                                                         21   ///
                                                         22   ///
                                                         23   ///
                                                         24   ///
                                                         25   ///
                                                         26   ///
                                                         27   ///
                                                         28
                                                                                                     11
                                                                                      COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                     Case No. 3:20-cv-04054
                                                                  Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 13 of 28



                                                          1        (f)   All other equitable or legal relief the Court deems just and proper.
                                                          2
                                                          3
                                                              Dated: June 18, 2020                    HUNTON ANDREWS KURTH LLP
                                                          4
                                                          5
                                                                                                         By:        /s/ Ann Marie Mortimer
                                                          6
                                                                                                                  Ann Marie Mortimer
                                                          7                                                       Jason J. Kim
                                                          8                                                       Jeff R. R. Nelson
                                                                                                               Attorneys for Plaintiff
                                                          9                                                    FACEBOOK, INC.
                                                         10                                                       Platform Enforcement and
                                                         11                                                       Litigation
                    Los Angeles, California 90071-2627




                                                                                                                  Facebook, Inc.
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12                                                       Jessica Romero
                                                         13                                                       Michael Chmelar
                                                                                                                  Stacy Chen
                                                         14
                                                         15
                                                         16
                                                         17
                                                         18
                                                         19
                                                         20
                                                         21
                                                         22
                                                         23
                                                         24
                                                         25
                                                         26
                                                         27
                                                         28
                                                                                                    12
                                                                                     COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                    Case No. 3:20-cv-04054
                                                                     Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 14 of 28



                                                          1                                       DEMAND FOR JURY TRIAL
                                                          2           Plaintiff hereby demands a trial by jury on all issues triable to a jury.
                                                          3
                                                          4   Dated: June 18, 2020                              HUNTON ANDREWS KURTH LLP
                                                          5
                                                          6
                                                                                                                  By:        /s/ Ann Marie Mortimer
                                                          7                                                                Ann Marie Mortimer
                                                          8                                                                Jason J. Kim
                                                                                                                           Jeff R. R. Nelson
                                                          9                                                             Attorneys for Plaintiff
                                                         10                                                             FACEBOOK, INC.

                                                         11                                                                Platform Enforcement and
                    Los Angeles, California 90071-2627




                                                                                                                           Litigation
                    550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12                                                                Facebook, Inc.
                                                         13                                                                Jessica Romero
                                                                                                                           Michael Chmelar
                                                         14                                                                Stacy Chen
                                                         15
                                                         16
                                                         17
                                                         18
                                                         19
                                                         20
                                                         21
                                                         22
                                                         23
                                                         24
                                                         25
                                                         26
                                                         27
                                                         28
                                                                                                              13
                                                              073923.0000052 EMF_US 80628387   COMPLAINT; DEMAND FOR JURY TRIAL
                                                                                                                              Case No. 3:20-cv-04054
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 15 of 28




                       EXHIBIT 1
                                  2019-12-12
                     Case 3:20-cv-04054-LB   - Screenshot
                                           Document 1 Filedfrom  domaintools.com
                                                             06/18/20 Page 16 of 28

< Older                                                                   2016-08-21 -   (3 years ago)


Domain Name: FAST - LIKERS.COM
Registry Domain ID : 1871438950 DOMAIN COM- VRSN
Registrar WHOIS Server : whois.godaddy . com
Registrar URL : http : //www . godaddy . com
Update Date: 2015 - 08 - 27T08 : 44 : 05Z
Creation Date: 2014 - 08 - 1 7 Tl2:44 : 30Z
Registrar Registration Expiration Date : 2016 - 08 - 17Tl2:44:30Z
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.4806242505
Domain Status: clientTransferProhibited http : //www . icann . org / epp# clientTransferProhibited
Domain Status: clientUpdateProhibited http : //www.icann.org/epp# clientUpdateProhibited
Domain Status: clientRenewProhibited http://www . icann.org/epp# clientRenewProhibited
Domain Status : clientDeleteProhibited http : //www . icann.org/epp# clientDeleteProhibited
Registry Registrant ID: Not Available From Registry
Registrant Name: Mr Zaghar
Registrant Organization : MrZaghar
Registrant Street : h
Registrant Street : h
Registrant City: h
Registrant State / Province : Marshall Islands
Registrant Postal Code : 80007
Registrant Country: MA
Registrant Phone : +212.6 7 05783214
Registrant Phone Ext:
Registrant Fax :
Registrant Fax Ext :
Registrant Email : t hemrzaghar@outlook.com
Registry Admin ID: Not Available From Registry
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 17 of 28




                       EXHIBIT 2
                                                                                                 Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 18 of 28
                                                                                               2019-12-12 - Screenshot from fast-likers.com as of 2016-07-30 via archive.org

IN T t!ltN t r   A t (MIVt    ,_
                              lh_
                                n ,_p:-"//'-fa_s_t-_li_
                                                      ke_r_
                                                          s._co_m
                                                                __,/_h_
                                                                     om_e__________________________                                                                  __,II Go I   JUN
ms~uge~m,mm~                  40 ca11tures                                                                                                                                         ◄




                                                                  version 4 of fost-llkers so fost without problems with outofollow<irs and autollkers fast-autolikcrs.com
                                                                           .:.~t..1.1 ., .:.!,~YI oJl.;j ~.J>L!.. u.,J.! ., h....,- :,fo.~ .:,...,Ii~_..;,,. ._.,,t,1I ~   • fast-autolil<cirs.com



                                                                                           •

                                                                                                                   Fast-Likers Login

                                                                                                         wci changed the servcir to Fost:-outollkcrs.com


                                                                                                                            Click H<tr<t




                                                                          YcY : wc"w rcstor Auto foJJowers & Auto Invites




                             Fast-likes o 2014 - 2016 I crciotcd By mrZaghar. • Privac1,1 · Tcirms                                                                                                   Bock to top
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 19 of 28




                       EXHIBIT 3
                                                                                                                     Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 20 of 28
                                                                                                                  2020-05-02 - Screenshot from massroo8.com as of 2018-11-26 via archive.org

  H    Amazing services for your w o         X       +
 f-     ➔

 ::: Apps
                 C
                  E=J
                          ii web.archive.org/ w eb/20181126224043/https:// massrootB.com/

                        Facebook     ~ Altair    I Home    Lexis Advance®-...   Lr   My Drive - Google...   E   Ad Library    mg   Ads Portal   ~ TTP Dashboard         E
                                                                                                                                                                        AUG
                                                                                                                                                                            Ad Library Report...   (}   Perks   O
                                                                                                                                                                                                                                       *
                                                                                                                                                                                                                    Talos Blog 11 Cisco...   ; ; Schwab   G   big pharma in outr...
                                                                                                                                                                                                                                                                                      •   ..
                                                                                                                                                                                                                                                                                          »

   IIIITt;lt~   T ,. .CMIVI        ._l
                                    h_tt-'--
                                         p_s_: /_/ _
                                                   m_a_s s_r_o_ot_8_.c  _ / _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _____.I
                                                                     _o_m                                                                                        I Go               MAY

   mot 9 ~moomn~                                                                                                                                                          ◄
                               30 cagtures
                               10 Sep 2016 - 29 Apr 2020                                                                                            ••   I   I   l.     2017        2020


                                                                                                                                       MassRoot8
                                                                                                                 Register for free and use amazing services.

                                                                                                                                                  Login




                                                                                     ~       Free Account
                                                                                                                                                                               CREATE NEW ACCOUNT


                                                                                             With your account on our website u manage
                                                                                             Multiple Facebook Accounts for extracting and
                                                                                             posting.




                                                                                     nnn     Awesome Performances

                                                                                             with our website u can find mail checker and
                                                                                             mail extractor and a lot of tricks what are
                                                                                             waiting for Register now to use free services.



                                                                                                                                                                               Create Free Account




                                                                                                                             Massroot8 © 2020, made with • · Privacy Policy




https://web.archive.org/web/*/https://massroot8.com/ ]
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 21 of 28




                       EXHIBIT 4
                                                                                                                                                      Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 22 of 28

                                                                                                                                              2019-06-12 - Screenshot from fast-autolikers.com as of 2016-04-20 via archive.org
4i       Chrome                  File    Edit     View       History   Bookmarks   People   Window   Help                                                                                                                                                       100% Im,   Wed 1: 51 PM   Q.

•Ill •About Us - Fast-Autolikers                      X      +
                            i      https://web.archive.org/web/20160420212754/http:l/fast-autolikers.com/about                                                                                                                                                                                 .••
                                                                                                                                                                                                                                                            *
 I N Tllft~ l f A lll ( X l\'I


 ms~vaehmmmm~
                                        ~~-----~-------------------------~
                                        lhttp:// fast-autolikers.com/ about

                                        9 ca11tures
                                                                                                                  11Go I   MAR
                                                                                                                            ◄


                                        2.0 Apr 2016 - 28 Dec 2016




                                                                                                                                         Fa FAST- AUTOLIKERS .
                                                                                                                                                               Fast-Auto Ii ke rs
                                                                                                                                                                         About Us

                                                                                                                 That Website Cr eated By MrZaghar ( Zaghar Mohamed )
                                                                                                                 My name: Zaghar Mohamed
                                                                                                                 My Age: 18Years
                                                                                                                 l'am from M oro cco, i like Hammerthrow sport and coding Apps + Website,
                                                                                                                 i like creating Musics (SoundCould Channel) and m ake cart oons ...etc.

                                                                                                                 About Fast-autolikers.com
                                                                                                                 that website is new ver sion of Fast-Likers (aout 23, 2014),
                                                                                                                 its borned at fevrier 13, 2016 , and at gQril 10, 2016 we add instagram autoliker the b eta version,
                                                                                                                 FAST-AUTOLIKERS.COM give you the service of ( autolikers + autofriendsi nvete + Autofo llow) on facebook and ( autoliker) on inst agram.
                                                                                                                 we m ak e fast-autolikers.com with love • .




                                                                                                                                            Similar SITES, Liker fast-autolikers.com




                                                                                                                                 onellker.com,hublaa.me,llkelo.ln,klngllker.com,offlclal-llker.net,dJllker.com,mg-llkers.com,




                                                                                                                                                Fast-Autolikers © 2016 - Created By Mrlaghar.           I Privacy Policy
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 23 of 28




                       EXHIBIT 5
                                                                           Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 24 of 28
                                                                  2020-04-28 - Screenshot from youtube.com/user/TheMrZaghar/videos




   -           D VouTube                                                                Search                                                                                                                                                                    ~                              I   8    SIGNIN I



   ~           Home
                                                                            TheMrZaghar
   6           Trending
                                                                            1.58K subscribers                                                                                                                                                                                ifrHMHI
   ii          Subscriptions                              HOME               VIDEOS                  PLAYLISTS               COMMUNITY               CHANNELS               ABOUT



  ig           Library                            Uploads        PLAY ALL                                                                                                                                                                                                                  :-   SORT BY


  -0




   I       8
               History



   Sign in to like videos,
   comment, and subscribe.


               SIGNIN I
                                                              -
                                                     \2) and~ 2X more points
                                                      .



                                                  add more addmefast points
                                                                               __ : .:tfi
                                                     f ix • . BuyAddMefast poin1snow ~
                                                                                        Iii



                                                                                              Download Videos Online With
                                                                                                                                     ■

                                                                                                                                                      ~ll■ll"1 ~
                                                                                                                                 (Update) Extract Mobiles and
                                                                                                                                                                 ~


                                                                                                                                                                 "
                                                                                                                                                                     ----------='='=·••=-
                                                                                                                                                                     Fix Fast Autolikers
                                                                                                                                                                                                         -~::;'";'k-:..,
                                                                                                                                                                                                         How To Extract Email And
                                                                                                                                                                                                                                 .:,


                                                                                                                                                                                                                                             1 48

                                                                                                                                                                                                                                                    [Windows] How To Use Fast
                                                                                                                                                                                                                                                                             --
                                                  bot                                         One Click For Youtube ,...         Emails From Facebook Grou ...       Alternative Login Problem           Mobile Phone from Facebo ...               autolikers Login For Windows
  BEST OF YOUTUBE                                 7.3K views • 1 year ago                     3.1 K views • 3 years ago          11 K views • 3 years ago            18K views • 3 years ago             13K views • 3 years ago                    6.5K views • 3 years ago


  G            Mu sic
                                                                                                                                                                                                                mJ to,t-AUTOLIKERS.,""

                                                                                                                                                                                       ~
                                                                 •
                                                                                                                                                                                                                           Fast•Autolikers

  C            Sports                                                                                                                                                                                                (/.igh.lrl~M~




  0            Gaming
                                                                                    413                                                                                                            flD
  0    .       Movies
                                                  Fast-autolikers For Android                 Group Members Auto Tag (           How To Extract Facebook             Facebook Friends Real               [ Easy Login I Fast autolikers                  ,r.J r..,;1 ul Hammer
                                                                                                                                                                                                                                                    "'-l_;l..JI
                                                  Get Facebook Auto Likes ...                 Mention ) & Extract All Grou ...   Mobile Phone And Emails ...         Emails Extractor Facebook ...       com - Tutorial bookmark ...                Throw Training
  0    .       TV Shows
                                                  20K views • 3 years ago                     14K views • 3 years ago            24K views • 3 years ago             3.5K views • 3 years ago            38K views • 3 years ago                    1.3K views • 3 years ago

  G>           News
                                                                                                                                                                                                                                                     0        . . ...   ·-                 -


  0
  e
               Li ve


               Fashion
                                                                                                                                                                                                                                                           ---
                                                                                                                                                                                                                                                           •--               -
                                                                                                                                                                                                                                                                        ,_, ...... ,_,_,

                                                                                                                                                                                                                                                                             I - _;




  Q            Learning
                                                  MrZaghar ~.Jl..:e J ,u,.11..,; J..;         1 sec I Facebook Timeline          TheMrZaghar • LAGALOX [             autolike • auto invit friends -     i.ntere.st Free Points - Get               Facebook Autofollows -
  0            Spotlight                          ~I

                                                  220 views • 3 years ago
                                                                                              Cover Creator Magic Banne ...
                                                                                              1.1 K views • 4 years ago
                                                                                                                                 Out Now]
                                                                                                                                 256 views • 4 years ago
                                                                                                                                                                     auto tag group members ...
                                                                                                                                                                     12K views • 4 years ago
                                                                                                                                                                                                         Free lnPlus MrZaghar
                                                                                                                                                                                                         5. 7K views • 4 years ago
                                                                                                                                                                                                                                                    Console Without Access ...
                                                                                                                                                                                                                                                    17K views • 4 years ago
  0            360° Video
                                                                                                                                                                                                                                 ...
https://www.youtube.com/watch?v=kK7G95_gMGY   I                                                                                                                                                                                    L.         I
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 25 of 28




                       EXHIBIT 6
                                                                                                                         Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 26 of 28
                                                                                                             2020-05-01 - Screenshot from fast-autolikers.com as of 2018-08-05 via archive.org

• •                 0        Locked                                X     +
f-
•••
       ➔

: : : Apps
                 C
                 J::=::=I
                 LJ
                              11 web.archive.org/web/20180805101255/http://fast-autolikers.com/

                            Facebook     ...at   Altair   I Home       Lexis Advance®-...   L,   My Drive - Google ...   11   Ad Library   tm   Ads Portal   g   TTP Dashboard   11    Ad Library Report ...   :···,:,
                                                                                                                                                                                                               ·....
                                                                                                                                                                                                                            ~
                                                                                                                                                                                                                         Perks   Q
                                                                                                                                                                                                                                  *
                                                                                                                                                                                                                                          lj   0
                                                                                                                                                                                                                                      Talas Blog
                                                                                                                                                                                                                                                        II
                                                                                                                                                                                                                                                   11 Cisco ...
                                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                  !;I
                                                                                                                                                                                                                                                                        ID   ml 0
                                                                                                                                                                                                                                                                        Schwab
                                                                                                                                                                                                                                                                                    •     (JD
                                                                                                                                                                                                                                                                                                   •        ..
                                                                                                                                                                                                                                                                                                            ))




  INTt•      ~   A•Cllt\lC             ~l
                                       h_tt_p_:/_/_fa_s_t-_a_u_to
                                                                _ l_ik_e_r_
                                                                          s ._co
                                                                               _m_ / ________________________________                                                ~1 1Go I    JUL          SEP                                                                                            Ci) (i)      0
      g~ aehmoomno                     106 captures
                                      12 Jan 2016 - 5 Sep 2019
                                                                                                                                                                                              ►
                                                                                                                                                                                              2019
                                                                                                                                                                                                                                                                                                    11
                                                                                                                                                                                                                                                                                        ,.. About this caRture

                                                                                                                t at website c ose .
                                                                                                                       This site
  has been closed. We have been contacted by Facebook lawyers that if the site is not stopped, they will sue us because the site violates Facebook's privacy policy. There are those who have reported on the site that we are helping people to
know their friends 'information and this is causing them harm so Facebook has disabled All the accounts of the owner of the site and all applications and the owner of the site was permanently banned from using Facebook even if he changed
                                              the IP for this and we received threats from Facebook to close this site and we respect this request of Facebook in protecting users, so the provider was
                                                                                            unfortunately locked after 4 years From giving So Ntha Site
                                                                                               To Contact LANGUAGE: Info@fast-autolikers.com a

                                                                                                                                     WebProxY- 1Youtube Downloader I
Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 27 of 28




                       EXHIBIT 7
                                                        Case 3:20-cv-04054-LB Document 1 Filed 06/18/20 Page 28 of 28
                                          2019-12-12 - Screenshot from fast-autolikers.com as of 2018-10-27 via archive.org

                 C    i web.archive.org/web/20181027190613/http://www.fast-autolil<ers.com/                                                                          0 11D ~l!l        0 .•
Ill   ._,'.':_   C ,,:__::   II-~-"\'::        . ,_:_    B :. ._[_ _) B : :'. _ ",',-,-,_           I~       '.'i,._c;_'_                            ~ SG"Ji•~        .. ,._,PLO;.:)

                                      A.3CUT      CC".TACT     3L:::>G       ;;RC,JECTS          HELP          IX)'-jli,~          JJBS            1,oLu·~'TER    PE8PLE




                                                                                   I N T E R N ET A R C HI V E


                                                                                  mau~uehm~e~i~~
                                                         l oading . . .

                                                               http://www.fas t •auto1ike r s. coa/
                                                               19:06: 13 Octobe r 27 , 2018

                                                              Got an HTTP 391 r esponse a: crawl t i me

                                                         Red i rec ting to .. .

                                                               https ://mass r oot8.com

                                                                                                                                                      lmpaoent?




                                                             nn   '!he Ws11»cl: l,lsclune is an inillati\"e of the l&lemet A1thn1'. • 51>1(r)(3l
                                                                  non-profit. build:ioga digiW library ot Internet sites and other C'tlltural
                                                                  artifacts in diptal form.
                                                                  Other pro,ects include Open Labrary & an:hh'e-tt.org.

                                                                  Your use. oh.he Waybaek Machine is sobjttt to tbfo lntemet A.rdti\'e.·s Terms
                                                                  of llse.
